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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU


   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/

                         REPLY DECLARATION OF KATHERINE M. BOLGER

             I, Katherine M. Bolger, declare as follows:
             1.        I am a partner at Davis Wright Tremaine LLP, counsel to Defendants, BuzzFeed,
   Inc. and Ben Smith, in this action.
             2.        I make this declaration in order to annex exhibits relied upon in Defendants’
   Reply in Support of their Motion for Summary Judgment
             3.        Annexed hereto as Exhibit 1 is a true and correct copy of the transcript of the oral
   argument hearing in BuzzFeed, Inc. v. Dep’t of Justice, No. 17-24-29-APM (D.D.C.), held on
   February 15, 2018.
             4.        Annexed hereto as Exhibit 2 is a true and correct copy of a January 10, 2017
   article by Natasha Bertrand entitled Report: Trump briefed on unverified claims that Russian
   operatives have compromising information on him for Business Insider, printed from the website
   at https://www.businessinsider.com/russians-say-they-have-compromising-information-on-
   trump-2017-1.
             5.        Annexed hereto as Exhibit 3 is a true and correct copy of a January 10, 2017
   article by Justin Green entitled CNN: Trump & Obama briefed on Russian leverage campaign
   for Axios, printed from the website at https://www.axios.com/cnn-trump-obama-briefed-on-
   russian-leverage-campaign-1513299926-74c32587-616e-4404-a354-63e2e525e3bc.html.
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          6.      Annexed hereto as Exhibit 4 is a true and correct copy of a January 10, 2017
   article by David A. Graham entitled What CNN’s Report on Trump and Russia Does and Doesn’t
   Say for The Atlantic, printed from the website at
   https://www.theatlantic.com/politics/archive/2017/01/what-cnns-bombshell-report-does-and-
   doesnt-say/512747/.
          7.      Annexed hereto as Exhibit 5 is a true and correct copy of the court’s August 20,
   2018 decision in Khan v. Orbis Bus. Intelligence Ltd., No. 2018 CA 002667 B (D.C. Sup. Ct.),
   granting the defendants’ anti-SLAPP motion.
          8.      Annexed hereto as Exhibit 6 is a true and correct copy of relevant excerpts of the
   deposition of Ben Smith.
          9.


          I declare under penalty of perjury that the foregoing is true and correct.


   Executed on: October 12, 2018                                /s/ Katherine M. Bolger
                                                                Katherine M. Bolger




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